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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


In re: National Hockey League Players’            MDL No. 14-2551 (SRN/BRT)
Concussion Injury Litigation
                                                  MEMORANDUM OPINION
This Document Relates to All Actions                  AND ORDER



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SUSAN RICHARD NELSON, United States District Judge.

I.     INTRODUCTION

       This matter is before the Court on Plaintiffs’ Motion for Class Certification and for

Appointment of Class Representatives and Class Counsel. (Doc. No. 638.) The Court held a

hearing on this motion on March 16, 2018. (See Doc. Nos. 969, 973.) For the reasons set forth


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herein, Plaintiffs’ Motion for Class Certification is denied.

II.     BACKGROUND

        A.      Plaintiff’s Allegations

        This action, brought on behalf of a proposed class of former National Hockey

League (“NHL”) players, arises from what Plaintiffs describe as the “pathological and

debilitating effects of brain injuries caused by concussive and subconcussive impacts

sustained by former NHL players during their professional careers.” (Doc. No. 615, Second

Am. Class Action Compl. (“SAC”) ¶ 2.) The NHL, according to Plaintiffs, knew or should

have known of the growing body of scientific evidence linking repetitive concussive events

to long-term neurological problems, such as dementia, Alzheimer’s, and Chronic

Traumatic Encephalopathy (“CTE”). (Id. ¶¶ 4–5.) The NHL did not, however, warn

Plaintiffs or any other member of the proposed class about the dangers of repeated brain

trauma. (Id. ¶ 6.)

                1.      Promotion of Violence

        Plaintiffs assert that the NHL has permitted, and even promoted, violence in its sport

since the League was formed in 1917. (See SAC ¶¶ 274–90.) For “nearly a century,” the

NHL has “developed and promoted a culture of gratuitous violence within NHL hockey.”

(Id. ¶ 303.) Part of the NHL’s strategy, Plaintiffs allege, has been to promote brutality and

violence by glorifying the violent aspects of the game, including, but not limited to, the

brutal and ferocious head-snapping checks and the vicious bare-knuckle fights that occur on

the ice. (Id. ¶ 304.) The “continued growth” of violence through the NHL’s history is best-

exemplified by the “enforcers” or “goons” of the 1970s, 1980s, and 1990s––“players known

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for using intimidating force to protect marquee teammates and respond aggressively to

physical or foul play.” (Id. ¶ 278.) The NHL continues to promote violence, Plaintiffs

allege, by featuring violent hits and fights in commercials for the game, producing a weekly

program segment called “Top 10 Hits of the Week” on the NHL Network, and sponsoring

video games that include fighting and vicious body checking. (Id. ¶¶ 315, 320, 323.)

       The growth of violence drew attention from outside observers. (Id. ¶ 280.) In 1974,

the Ontario Cabinet appointed Canadian lawyer William McMurtry to issue a report on

violence in amateur hockey. (Id.) McMurtry interviewed numerous NHL players as part of

his research. (Id.) His report stated:

       In talking to numerous players in the NHL and WHA, they all feel that most
       advertising and selling of the game is over-emphasizing the fighting and
       brawling at the expense of educating the crowds about the skill and finesse.
       This past season the advertising for the NBC Game of the Week, showed a
       film clip of a hockey fight. Can you conceive of any other sport promoting
       itself in this fashion?

(Id.) In the report, then NHL President Clarence Campbell was quoted as saying: “it is the

business of conducting the sport in a manner that will induce or be conducive to the support

of it at the box office . . . . Show business, we are in the entertainment business and that can

never be ignored. We must put on a spectacle that will attract people.” (Id. ¶ 307.)

       In 1988, then NHL President John Ziegler was quoted in The Miami Herald as

stating, “Violence will always be with us in hockey . . . . Anytime you get a situation of high

anxiety and frustration in any walk of life, you get violence.” (Id. ¶ 309.) A year later in the

Wall Street Journal, Ziegler stated that he would not rid the NHL of fighting because if “you

did that, you wouldn’t be commissioner for long . . . The view of the 21 people who own the


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teams, and employ me, is that fighting is an acceptable outlet for the emotions that build up

during play. Until they agree otherwise, it’s here to stay . . . The main question about

fighting is, ‘Does the customer accept it?’ The answer, at present, seems to be yes.” (Id. ¶

310.)

        Current NHL Commissioner Gary Bettman holds a similar view. In a 2007 press

conference, Bettman explained that the NHL is “not looking to have a debate on whether

fighting is good or bad or should be part of the game,” and continued, “fighting has always

had a role in the game.” (Id. ¶ 311.) In 2011, Bettman highlighted fan support as a reason

not to ban fighting: “Our fans tell us that they like the level of physicality in our game, and

for some people it’s an issue but it’s not as big an issue in terms of fans and people in the

game to the extent that other people suggest it is.” (Id. ¶ 312.) Bettman later called fighting a

“thermostat” that helps cool things down when tensions run high. (Id. ¶ 313.)

        In contrast to the NHL, other elite and professional ice hockey leagues successfully

promote a completely different style of play, including Olympic and European ice hockey,

in which finesse, speed and skill, and power without violence dominate, and fighting is

almost nonexistent. (Id. ¶ 290.) For example, fighting is prohibited by the International Ice

Hockey Federation (“IIHF”), which governs Olympic hockey and most international

leagues. (Id. ¶ 291.) IIHF Rule 141 penalizes any player who “punches an opponent during

game action, after a whistle, or any time during the regular course of a game during a

prolonged player confrontation.” (Id.) Instigators of fights are penalized with immediate

ejection from the game, and IIHF authorities are given discretion to issue further

suspensions. (Id.) Amateur hockey leagues such as the National Collegiate Athletic

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Association (“NCAA”) similarly punish fighting much more harshly than the NHL. (Id. ¶

292.) The National Basketball Association (“NBA”) and the National Football League

(“NFL”) also prohibit fighting. (Id. ¶¶ 295–97.)

              2.     Knowledge and Failure to Warn

        Despite “mounting evidence” establishing the “link between brain injuries and

subconcussive impacts suffered by, among others, hockey players,” Plaintiffs allege that

“for decades” the NHL “either took no steps to protect and educate its players or took

insufficient steps to make players aware of the real risks of playing in the NHL, which

would have protected players from unnecessary long term effects of brain trauma.” (SAC ¶¶

7–9.)

        In 1928, for example, pathologist Harrison Martland published a study of boxers1

that was the first to link subconcussive impacts and “mild concussions” to degenerative

brain disease. (Id. ¶¶ 178–79.) Another study of boxers in 1973 outlined the

neuropathological characteristics of “Dementia Pugilistica,” including loss of brain cells,

cerebral atrophy, and neurofibrillary tangles. (Id. ¶ 190.)2 Between 1952 and 1994,

numerous additional studies were published in medical journals including the Journal of the

American Medical Association, Neurology, the New England Journal of Medicine, and

Lancet warning of the dangers of single concussions, multiple concussions, and sports-

1
       Martland, H., Punch Drunk, Journal of American Medicine (1928). (See Doc. No.
789-3.)
2
       Corsellis, J.A. et al., The Aftermath of Boxing, Psychol Med (1973) (See Doc. No.
789-7.)


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related head trauma from multiple concussions. (Id. ¶ 196.) In 1982, the Canadian Medical

Association Journal published an article titled “Return to athletic competition following

concussion,” which concluded that “return to training and competition should be deferred

until all associated symptoms such as headaches have completely resolved. The decision to

return must take into account the nature of the sport, the athlete’s level of participation and

the cumulative effect of previous concussions. Some athletes will have to avoid any further

participation in their sport.” (Id. ¶ 193.) In 1986, the Physician and Sportsmedicine Journal

published an article by Dr. Robert Cantu3 titled “Guidelines for return to contact sports after

cerebral concussion.” (Id. ¶ 194.) Dr. Cantu established a system to grade the severity of

concussions based on clear and obvious symptoms and corresponding guidelines for when

players should return to play. (Id.) Dr. Cantu added to the concussion grading scale in 2001.

(Id.)

        Plaintiffs allege that in the last decade, numerous published peer-reviewed scientific

studies have demonstrated that playing professional sports is associated with significant risk

for numerous negative long-term effects, including depression, cognitive disorders, and

brain injuries such as dementia, Alzheimer’s and CTE. (Id. ¶ 200.) This includes multiple

published studies regarding the negative long-term effects of head impacts on current and

former football players. (Id.) Plaintiffs assert that NHL players are five times more likely to


3
        Dr. Cantu is one of Plaintiffs’ experts in this case. (See Doc. No. 646.) The NHL
moved to exclude the testimony of Dr. Cantu and Plaintiffs’ other four experts––D’Arcy
Jenish, Dr. Stephen T. Casper, Dr. R. Dawn Comstock, and Dr. Thomas Blaine
Hoshizaki. (See Doc. Nos. 755, 761, 767, 772, 781.) None of these motions are addressed
in this Order.

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suffer a concussion than NFL players, which according to Plaintiffs is not surprising since

NFL players play on average four pre-season games, a sixteen-game regular season, and

engage in only 11-15 minutes of actual playing time per game, while NHL players on

average play six pre-season games and an 82-game season, and except for fourth-liners and

spare defensemen, play an average of 18-25 minutes per game. (Id. ¶ 214.) Head injuries

can also occur in practice and in the training camps leading up to the regular season. (Id. ¶¶

270–73.)

       Rather than take immediate measures to protect its players from these known

dangers, Plaintiffs allege that the NHL for decades failed to disclose to its players relevant

and highly material health information it possessed regarding the significant risks associated

with concussions. (Id. ¶ 237.) At the same time, the NHL promoted and encouraged violent

blows to the head as a routine part of the game. (Id.)

              3.      Medical Monitoring Relief

       Plaintiffs assert that by virtue of playing in the NHL, all retired players have

sustained concussive or subconcussive impacts, resulting in cellular and subcellular

neurological injury. (SAC ¶ 388.) The unresolved accumulation of such cellular and

subcellular injuries places players at an increased risk of developing neurodegenerative

diseases and conditions that occur earlier, and with greater severity, than they otherwise

would occur. (Id.) This cellular and subcellular damage often does not result in any

concurrent symptoms. (Id. ¶ 389.) Thus, some players had no reason to suspect or

investigate their cellular and subcellular injury until very recently, when news about the root

causes of neurodegenerative diseases and conditions in professional athletes became

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widespread. (Id.)

       Plaintiffs therefore seek medical monitoring relief on behalf of a class of all living

retired NHL players. (See SAC ¶ 1; Doc. No. 665, 1/19/17 Ltr. from C. Zimmerman to

Hon. S. Nelson (“Zimmerman Ltr.”) 1.) Plaintiffs claim that medical monitoring would

provide “immense relief to retired players” because “[e]ven when neurodegenerative

diseases and conditions are timely diagnosed and the patient is fortunate enough to be in

a supportive environment, the diseases have a profound impact on patients and their

families.” (SAC ¶ 391.) If left undiagnosed, neurodegenerative diseases and conditions

“can lead to severe consequences, including debilitating depression, the breakdown of

family and employment relationships, and suicide, not to mention the devastating

physical impact of the diseases.” (Id.) Plaintiffs request medical monitoring of present

cellular and subcellular injuries allegedly caused by the NHL’s negligence, fraudulent

concealment, fraud by omission, and failure to warn of the enhanced, long-term risk of

contracting a Neurological Disease, Disorder, or Condition (“NDDC”), 4 or the symptoms

thereof, from concussive and subconcussive impacts that occurred when they played in the

NHL. (Id. ¶ 1.) Plaintiffs allege that “[s]erial testing of cognitive functioning for early signs

or symptoms of neurologic dysfunction and serial brain imaging for signs of injury or

disease is medically necessary to assure early diagnosis and effective treatment of brain


4
       As used by Plaintiffs, “NDDC” includes ALS, Alzheimer’s, Parkinson’s, CTE,
Frontotemporal Dementia, Lewy Body Dementia, Parkinson’s Dementia, and other
neurodegenerative diseases or conditions, as well as any cognitive, mood, or behavioral
conditions where such conditions arose after retirement from the NHL. (Doc. No. 640,
Pls.’ Mem. 1 n.2; SAC ¶ 399.)

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disease,” and that “[m]onitoring procedures exist that comport with contemporary scientific

principles and make possible early detection of the neurodegenerative diseases and

conditions that Plaintiffs and members of the Class are at increased risks of developing or

have developed.” (Id. ¶¶ 420–21.)

       B.     NHL’s Response to Class Action Allegations

       The NHL disputes the assertion of Plaintiffs and their experts and argues that there is

no definitive causal link between players sustaining concussions and later developing

NDDCs such as CTE. (Doc. No. 787, Def.’s Mem. 6–20.) The NHL also explains that it and

the NHLPA “have always had a strong commitment to player safety within the context of a

physical, contact sport,” and “their approaches to improving player safety with respect to

head injuries have changed over time as information regarding the potential risks of head

hits has evolved.” (Def.’s Mem. 20.) To support its opposition to class certification, the

NHL offered twenty-three expert opinions on a variety of topics. (See Doc. No. 732,

Declaration of John Beisner (“Beisner Decl.”), Attached Exhibits; see also Doc. Nos. 733–

49.)

       The NHL asserts that the scientific community’s understanding of CTE is still in its

“infancy.” (Def.’s Mem. 6 (citing Doc. No. 789-1, Stern R. et al., Long-term Consequences

of Repetitive Brain Trauma: Chronic Traumatic Encephalopathy, Physical Medicine and

Rehabilitation Journal (2011).) As stated by one of the NHL’s experts, there is “much more

to learn about the potential cause and effect relationships of repetitive head impact

exposure, concussions, and long-term brain health . . . . More research on the long-term

sequelae is needed to better understand the incidence and prevalence of CTE or other

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neurodegenerative conditions among former athletes.” (Doc. No. 732-7, Declaration of Paul

McCrory (“McCrory Decl.”) ¶ 96.) Plaintiffs’ expert Dr. Cantu testified at his deposition

that “‘a cause-and-effect relationship has not as yet been demonstrated between CTE and

concussions or exposure to contact sports.’” (Doc. No. 773, Cantu Dep. 335:8–16 (citation

omitted).) Thus, the NHL strongly disputes Plaintiffs’ theory that “there has been a clear

association . . . between repeated blows to the head in sports” and CTE since 1928. (Doc.

No. 787, Def.’s Mem. 7 (quoting Doc. No. 644, Casper Decl. ¶ 19; see also Doc. No. 646,

Cantu Decl. ¶ 95; Doc. No. 642, Comstock Decl. ¶ 119; SAC ¶¶ 178–79).)5

         The NHL also contests the relationship between mild Traumatic Brain Injury

(“mTBI”)6 and other NDDCs, such as ALS, Alzheimers, and Parkinson’s. (Def.’s Mem.

16.) “While the scientific research related to these diseases has similarly progressed over

distinct timelines, there is no consensus in the medical literature that mTBI increases the

risk of any of the NDDCs specified by plaintiffs, and research concerning any relationship

between mTBI and some of these diseases is nonexistent.” (Id. (citing Doc. No. 749,


5
        For example, the NHL argues that the boxer study findings should not apply to
other sports. (Def.’s Mem. 8; see also Doc. No. 732-1, Declaration of Lisa Brenner
(“Brenner Decl.”) ¶ 50 (because the blows sustained by boxers in the Martland study
were “‘severe’” and, in some cases, resulting in a loss of “‘consciousness . . . for a
considerable period of time[,]” its “[i]mplications for milder and less frequent trauma that
might be associated with contact sports are not evidence”); Doc. No. 789-12, Critchley,
M., Medical Aspects of Boxing, Particularly from a Neurological Standpoint, Br Med J
(1957) (“One important distinction . . . distinguishes boxing from most other forms of
athleticism. Injuries are coincidental in other sports, but in boxing the aim and object . . .
is to render the opponent hors de combat.”).)
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         The term mTBI is used interchangeably with concussion. (SAC ¶ 160; Cantu Decl.
¶ 23.)

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Declaration of Kristine Yaffe (“Yaffe Decl.”) ¶¶ 14, 42–61).) NHL expert Dr. Yaffe

explains that the diseases identified by Plaintiffs have numerous risk factors, including age,

education level, family history of neurodegenerative disease, cardiovascular disease, stroke,

diabetes, high blood pressure, obesity, substance abuse, depression and sleep conditions.

(Yaffe Decl. ¶ 39.) The potential causes of “cognitive, mood, or behavioral conditions,”

they argue, are even more varied. Depression, for example, is associated with alcoholism,

drug abuse, traumatic or stressful life events, negligent/traumatic childhood, and financial

and psychological stressors. (Doc. No. 736, Supplemental Declaration of Jennifer Finkel

(“Finkel Suppl. Decl.”) ¶ 17.) Dr. Finkel, another NHL expert, performed a comprehensive

psychiatric evaluation and medical record review of three of the named Plaintiffs and

determined that “the psychological symptoms experienced by these individuals are likely

attributable to other psychosocial causes” unrelated to head injuries. (Finkel Suppl. Decl. ¶

18.)

       Finally, the NHL maintains that there is “no consensus in the medical or scientific

community about the definition of ‘subconcussive’ blows, impacts, or injuries.” (Doc. No.

732-5, Declaration of Grant Iverson (“Iverson Decl.”) ¶ 151.) The few studies that have

been conducted, they argue, are inconclusive regarding the clinical effects of such impacts

in humans. (See Doc. No. 732-4, Declaration of Kevin Guskiewicz (“Guskiewicz Decl.”) ¶

66 (“to date, there is not a published paper that can answer the question about the

association between subconcussive impacts and [long term neurodegenerative diseases], let

alone a cause and effect explanation.”).)



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       C.     Proposed Class Representatives

       Dan LaCouture played forward for the Edmonton Oilers from 1998–2001, the

Pittsburgh Penguins from 2001–03, the New York Rangers from 2003–04, the Boston

Bruins from 2005–06, the New Jersey Devils from 2006–07, and the Carolina Hurricanes in

2008. (SAC ¶ 28.) LaCouture alleges that he suffered close to twenty concussions while

playing in the NHL, and numerous subconcussive injuries and hits to the head. (Id. ¶ 29.)

He alleges to suffer on a daily basis from headaches, irritability, sensitivity to light, change

of personality, sleeping problems, and severe depression. (Id. ¶ 38.) LaCouture additionally

reports problems that include impulsivity, issues with self-regulation, and worsening self-

esteem. (Doc. No. 732, Declaration of John H. Beisner (“Beisner Decl.”), Ex. E; Doc. No.

737 at 57.) According to LaCouture, his family has expressed “a great deal of concern”

about his anger and irritability. (Id. at 58.) LaCouture is a resident and citizen of

Massachusetts. (SAC ¶ 27.)

       Gary Leeman played defense and then forward for the Toronto Maple Leafs from

1983–1992, the Calgary Flames from 1992–93, the Montreal Canadians from 1993–94, the

Vancouver Canucks from 1994–95, and the St. Louis Blues in 1996. (SAC ¶ 40.) Leeman

alleges that during his career, he suffered a fractured skull with an accompanying severe

concussion, as well as numerous other concussions and subconcussive hits to the head. (Id.

¶ 42.) On an ongoing basis, Plaintiff alleges that he experiences headaches, memory loss,

inability to concentrate, irritability, balance problems, sensitivity to light, mood swings,

anxiety, dizziness, problems managing stress, fainting sensations, blurred vision, ringing in

his ears, change of personality, sleeping problems, and moderately severe depression. (Id. ¶

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44.) At his deposition, Leeman testified that he previously experienced occasional panic

attacks brought on by his anxiety, but that it has “been awhile” since his last panic attack.

(Doc. No. 641, Declaration of Charles S. Zimmerman (“Zimmerman Decl.”), Ex. 147 at

115.) He primarily complains of increased irritability, in addition to a propensity for

distractibility and impulsivity. (Doc. No. 737 at 177.) Leeman identifies memory

impairment as the “most frightening” of his symptoms. (Id. at 178.) Leeman is a resident

and citizen of Ontario, Canada. (SAC ¶ 39.)

       Bernie Nicholls played center for the Los Angeles Kings from 1982–1990, the New

York Rangers from 1991–92, the Edmonton Oilers in 1993, the New Jersey Devils from

1993–94, the Chicago Blackhawks from 1994–95, and the San Jose Sharks from 1996–99.

(SAC ¶ 46.) Nicholls alleges that he suffered a broken jaw while playing for the Kings and a

concussion playing for the Sharks in 1997. (Id. ¶¶ 48–49.) On October 29, 1998, he took a

violent hit to the head when a stick hit him in the eye, leaving him disoriented and

necessitating twenty-five stitches. (Id. ¶ 50.) Nicholls alleges that he suffers on a daily basis

from dizziness, disorientation, memory loss, tinnitus, post-traumatic headaches,

concentration difficulties, sleep disorder, and cognitive deficit. (Id. ¶ 51.) At his deposition,

Nicholls testified that he also suffers from periodic depression and bouts of irrational anger.

(Zimmerman Decl., Ex. 144 at 19–20.) Nicholls also indicates that both he and his family

have noticed increasing problems with his memory over the last few years. (Doc. No. 737 at

109.) Nicholls states that his primary mood symptom is intermittent irritability. (Id. at 110.)

Nicholls is a resident and citizen of Ontario, Canada. (SAC ¶ 45.)

       David Christian played forward for the Winnipeg Jets from 1979–83, the

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Washington Capitols from 1983–90, the Boston Bruins from 1990–91, the St. Louis Blues

from 1991–92, and the Chicago Blackhawks from 1992–94. (SAC ¶ 53.) Christian alleges

that during his career, he suffered numerous undiagnosed concussions and subconcussive

hits to the head that were not properly treated. (Id. ¶ 55.) In one incident while playing for

the Winnipeg Jets, Christian was struck in the head and knocked unconscious. (Id. ¶ 56.) In

another incident while playing for the Washington Capitals, Christian was struck so hard in

the head that he immediately saw flashing lights and stars and fell to the ice. (Id. ¶ 57.)

Christian is a resident and citizen of Minnesota. (Id. ¶ 52.)7

       Reed Larson played defense for the Detroit Red Wings from 1977–87, the Boston

Bruins from 1987–89, the Edmonton Oilers, New York Islanders, and Minnesota North

Stars from 1988–89, and in 1989 for the Buffalo Sabres. (SAC ¶ 60.) Larson alleges that he

suffered numerous undiagnosed concussions and subconcussive hits to the head that were

not properly treated during his career. (Id. ¶ 62.) In one incident while playing for the

Detroit Red Wings in 1977, Larson was involved in a fight on the ice resulting in numerous

blows to the head and a broken nasal cavity. (Id. ¶ 63.) In another incident while playing for

the New York Islanders, Larson was struck in the head by a slap shot during practice. (Id. ¶

66.) The blow was so severe that it required fifty stitches and plastic surgery to correct the


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        Christian does not allege that he is currently suffering from any concussion-related
symptoms. (SAC ¶¶ 52–58.) At his deposition, Christian answered “no” when asked if he
suffers from or has depression, forgetfulness, balance problems, difficulty concentrating,
light sensitivity, mood swings, anxiety, problems managing stress, dizziness, fainting
sensations or light-headedness, blurred vision, or ringing in his ears. (Zimmerman Decl.,
Ex. 145 at 100–01.) Christian also denied that his personality has changed in the last ten
years. (Id. at 101.)

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damage to Larson’s face. (Id.) Larson suffers from depression, irritability, short-term

memory loss, fatigue, sleep disorder, and occasional dizziness upon standing. (See

Zimmerman Decl., Ex. 143; Doc. No. 737 at 15–20.) He denies that his memory or somatic

complaints are noticeable, but admits that people “notice other things” about him, such as

his impatience and irritability. (Doc. No. 737 at 16.) According to Larson, his irritability

negatively affects his relationships, and he admits to having had six behavioral outbursts

since retiring from hockey. (Id. at 17.) Larson is a resident and citizen of Minnesota. (SAC ¶

59.)

       Lawrence Zeidel, who passed away in 2014, played defense for the Detroit Red

Wings from 1951–53, the Chicago Blackhawks from 1953–54, and the Philadelphia Flyers

from 1967–69. (SAC ¶¶ 70, 72.) Zeidel’s representative George M. Bradley alleges that

Zeidel suffered numerous undiagnosed concussions and subconcussive hits to the head that

were not properly treated, including head injuries from stick fights and being speared in the

head with sticks. (Id. ¶¶ 74, 77.) After Zeidel’s death, an expert panel of neurologists,

neuropsychologists, and researchers examined Zeidel’s case and concluded Zeidel suffered

from CTE. (Id. ¶ 79; Zimmerman Decl., Ex. 149.) Zeidel was characterized as having a

longstanding history of an extremely violent and explosive temper. (Zimmerman Decl, Ex.

149.) In his forties, he began having difficulty managing his financial affairs, displayed

“seemingly manic behavior,” and was involved in several altercations with co-workers. (Id.)

In his fifties and sixties, Zeidel experienced cognitive deterioration resulting in unusual

behavior and difficulty caring for himself and living independently. (Id.) He was diagnosed

with dementia in his eighties and passed away due to multiple organ failure. (Id.) Zeidel’s

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representative is a resident and citizen of Pennsylvania. (SAC ¶ 70.)

       D.      Plaintiffs’ Proposed Classes

               1.      Class 1: All Living Retired NHL Hockey Players

       Plaintiffs Christian and Larson move for Rule 23(b)(2) certification and for

appointment as representatives of a class of all living retired NHL hockey players. (Pls.’

Mem. 29; Zimmerman Ltr. 1.) Plaintiffs assert that under Minnesota choice-of-law rules,

the Court should apply New York law to the issue of liability (duty and breach), and

Minnesota law to the issue of the remedy sought (medical monitoring). (Pls.’ Mem. 29;

Zimmerman Ltr. 2.) Alternatively, Plaintiffs Christian, Larson, Nicholls, and LaCouture

move for certification under a grouping of state laws. (Pls.’ Mem. 30 (requesting

certification under a “state-law grouping theory because very few conflicts of substantive

law are relevant to the claims and common evidence”); Zimmerman Ltr. 3 (“[I]f the

Court determines that it would be improper to apply the law of a single state for the

predicate tort duties, and the elements of medical monitoring relief of a single state (the

choice-of-law approach), the medical monitoring and general negligence duties of all

states are still sufficiently similar for the court to certify class 1.”).)

               2.      Class 2: All Retired NHL Hockey Players (or representative
                       claimants if they are deceased) who have been clinically
                       diagnosed with a NDDC

       Plaintiffs Leeman and the Ziedel Estate move for certification of a class of all

retired NHL hockey players (or representative claimants if they are deceased) who have

been clinically diagnosed with a NDDC as to the legal issues of duty of care and breach

of duty, including the failure to warn, and factual issues relevant to whether the head

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impacts that class members experienced can cause latently-developed NDDCs. (Pls.’

Mem. 29; Zimmerman Ltr. 4.)

III.   DISCUSSION

       A.     Rule 23 Requirements for Class Certification

       Class actions are governed by Federal Rule of Civil Procedure 23. They are “an

exception to the usual rule that litigation is conducted by and on behalf of the individual

named parties only.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348 (2011). In Dukes,

the Supreme Court emphasized that the standard for obtaining class certification is an

onerous one. The Court explained that Rule 23 “does not set forth a mere pleading

standard. A party seeking class certification must affirmatively demonstrate his

compliance with the Rule––that is, he must be prepared to prove that there are in fact

sufficiently numerous parties, common questions of law or fact, etc.” Id. at 350

(emphasis in original). Class certification is proper only if the Court is satisfied, after a

“rigorous analysis,” that the prerequisites of the Rule have been satisfied. Id. at 350–51. It

might be necessary for a court to look beyond the pleadings before deciding the

certification question. Dukes, 564 U.S. at 351 (“Frequently that ‘rigorous analysis’ will

entail some overlap with the merits of the plaintiff’s underlying claim. That cannot be

helped. ‘The class determination generally involves considerations that are enmeshed in

the factual and legal issues comprising the plaintiff’s cause of action.’”) (quoting Gen.

Tel. Co. v. Falcon, 457 U.S. 147, 160 (1982)).

       To be certified as a class, Plaintiffs “must meet all of the Rule 23(a) requirements

and must satisfy one of the three subsections of Rule 23(b).” In re St. Jude Med., Inc.,

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425 F.3d 1116, 1119 (8th Cir. 2005) (“St. Jude I”). It is not necessary to discuss the Rule

23(a) requirements––numerosity, commonality, typicality, and adequacy––because

Plaintiffs’ Motion for Class Certification can be resolved on the requirements set forth in

Rule 23(b). See In re Prempro, 230 F.R.D. 555, 573 (E.D. Ark. 2005) (“[A] full analysis

of FRCP 23(a) is unnecessary since Plaintiffs failed to meet any of the FRCP 23(b)

requirements, which precludes certification.”). The “rigorous analysis” described in

Dukes applies to Rule 23(b). See Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013)

(explaining that the “same analytical principles” established by Dukes “govern Rule

23(b)”).

       Plaintiffs argue for certification under Rule 23(b)(2), which provides for

certification where “the party opposing the class has acted or refused to act on grounds

that apply generally to the class, so that final injunctive relief or corresponding

declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2).

(See Doc. No. 964, Pls.’ Reply 7–10.) The NHL argues that Plaintiffs’ motion should be

addressed under Rule 23(b)(3), which allows for certification where “the court finds that

the questions of law or fact common to class members predominate over any questions

affecting only individual members, and that a class action is superior to other available

methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

(See Def.’s Mem. 28–31.)

       Rule 23(b)(3)’s requirement that common questions predominate over individual

questions “tests whether proposed classes are sufficiently cohesive to warrant

adjudication by representation.” Blades v. Monsanto Co., 400 F.3d 562, 566 (8th Cir.

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2005). The predominance requirement “is not satisfied if individual questions . . .

overwhelm the questions common to the class.” Ebert v. General Mills, Inc., 823 F.3d

472, 478–79 (8th Cir. 2016). Rule 23(b)(2), on the other hand, “applies only when a

single injunction or declaratory judgment would provide relief to each member of the

class.” Dukes, 564 U.S. at 360. A (b)(2) class need not meet (b)(3)’s predominance

requirement, but at the same time, “‘the class claims must be cohesive.’” Ebert, 823 F.3d

at 480 (quoting Barnes v. Am. Tobacco Co., 161 F.3d 127, 143 (3d Cir. 1998)). Rule

23(b)(2)’s cohesiveness requirement is “more stringent than the predominance and

superiority requirements for maintaining a class action under Rule 23(b)(3).” Id.; see also

Avritt v. Reliastar Life Ins. Co., 615 F.3d 1023, 1035 (8th Cir. 2010); St. Jude I, 425 F.3d

at 1121–22. This is because a (b)(2) class is mandatory and does not include an opt-out

provision. See Ebert, 823 F.3d at 480 (“Because a (b)(2) class is mandatory, the rule

provides no opportunity for (b)(2) class members to opt out, and does not oblige the

district court to afford them notice of the action, both of which are prescribed for (b)(3)

classes.”).

       The Court will analyze Plaintiffs’ motion under Rule 23(b)(3) because the relief

that they seek––medical monitoring––is predominantly monetary in nature, not

declaratory or injunctive. See Dukes, 564 U.S. at 360 (holding that claims for monetary

relief cannot be certified under Rule 23(b)(2) where “the monetary relief is not incidental

to the injunctive or declaratory relief”); see also Zinser v. Accufix Res. Inst., Inc., 253

F.3d 1180, 1196 (9th Cir. 2001) (reasoning that plaintiffs “seek the establishment of a

reserve fund for past and future damages, compensation for future medical treatment,

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plus other compensatory and punitive damages. Although the complaint also seeks ‘full

and proper research into alternative methodologies for remedying the condition of each

patient/class member,’ this injunctive relief is merely incidental to the primary claim for

money damages”); Boughton v. Cotter Corp., 65 F.3d 823, 827 (10th Cir. 1995)

(affirming rejection of medical monitoring class under Rule 23(b)(2) because “the relief

sought was primarily money damages”); Duncan v. Nw. Airlines, Inc., 203 F.R.D. 601,

611 (W.D. Wash. 2001) (“Although the plaintiff now characterizes the relief as a

program rather than a fund, the bottom line is money.”). As stated below, Plaintiffs

cannot meet the predominance requirement set forth in Rule 23(b)(3) because of the

significant variance in legal standards governing medical monitoring claims. Even if

Plaintiffs are correct that their motion should be analyzed under Rule 23(b)(2),

certification would be denied for the same reasons. See Gates v. Rohm & Haas Co., 655

F.3d 255, 264 (3d Cir. 2011) (“[A] (b)(2) class may require more cohesiveness than a

(b)(3) class.”); Foster v. St. Jude Med., Inc., 229 F.R.D. 599, 607 (D. Minn. 2005)

(“[T]he issues that defeat the predominance and superiority requirements of Rule

23(b)(3) also preclude certification under Rule 23(b)(2).”).

       Plaintiffs also move for certification as to particular issues. See Fed. R. Civ. P.

23(c)(4) (“When appropriate, an action may be brought or maintained as a class action

with respect to particular issues.”). The Eighth Circuit has recognized that “there is a

conflict in authority on whether [an issue] may be certified under Rule 23.” In re St. Jude

Medical, Inc., 522 F.3d 836, 841 (8th Cir. 2008) (“St. Jude II”). While not rejecting the

possibility of issue certification, the court stressed that “[e]ven courts that have approved

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‘issue certification’ have declined to certify such classes when the predominance of

individual issues is such that limited class certification would do little to increase the

efficiency of the litigation.” Id.; see also Ebert, 823 F.3d at 479 (holding that the

“deliberate limiting of issues” may be “problematic”). The predominance of individual

legal issues also precludes issue certification in this case.

       B.     Rule 23(b)(3)

       As noted above, Rule 23(b)(3) allows for certification where “the court finds that

the questions of law or fact common to class members predominate over any questions

affecting only individual members, and that a class action is superior to other available

methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

The “matters pertinent to these findings” include “the class members’ interests in

individually controlling the prosecution or defense of separate actions;” “the extent and

nature of any litigation concerning the controversy already begun by or against class

members;” “the desirability or undesirability of concentrating the litigation of the claims

in a particular forum;” and “the likely difficulties in managing a class action.” Fed. R.

Civ. P. 23(b)(3)(A)–(D).

       District courts “must perform a rigorous analysis before determining that issues

common to the class predominate over issues that differ among the individual class

members.” Ebert, 823 F.3d at 478. The predominance requirement “‘tests whether

proposed classes are sufficiently cohesive to warrant adjudication by representation.’”

Luiken v. Domino’s Pizza, LLC, 705 F.3d 370, 377 (8th Cir. 2013) (quoting Amchem

Prods., Inc. v. Windsor, 521 U.S. 591, 623 (1997)). This inquiry is more demanding than

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the otherwise rather similar commonality requirement under Rule 23(a) in that, “‘[w]hen

determining whether common questions predominate, a court must conduct a limited

preliminary inquiry, looking behind the pleadings, but that inquiry should be limited to

determining whether, if the plaintiffs’ general allegations are true, common evidence

could suffice to make out a prima facie case for the class.’” Id. (quoting In re Zurn Pex

Plumbing Prod. Liab. Litig., 644 F.3d 604, 618 (8th Cir. 2011)); see also Behrend, 569

U.S. at 34 (“If anything, Rule 23(b)(3)’s predominance criterion is even more demanding

than Rule 23(a). Rule 23(b)(3), as an ‘adventuresome innovation,’ is designed for

situations ‘in which class-action treatment is not as clearly called for.’”) (quoting Dukes,

564 U.S. at 362). Where the resolution of a common issue “breaks down into an

unmanageable variety of individual legal and factual issues,” the predominance

requirement is not satisfied. Nobles v. State Farm Mut. Auto Ins. Co., No. 10–04175–

CV–C–NKL, 2013 WL 12153517, at *2 (W.D. Mo. June 5, 2013) (citing Andrews v. Am.

Tel. & Tel. Co., 95 F.3d 1014, 1023 (11th Cir. 1996)).

       C.     Choice-of-Law Principles

       The Court first considers whether common legal issues predominate. Plaintiffs

argue that they do because choice-of-law principles dictate that New York law applies on

a classwide basis to the issues of duty and breach, and Minnesota law applies on a

classwide basis to the issue of medical monitoring. (Pls.’ Mem. 41–52.) In the alternative,

Plaintiffs argue that the Court may certify a class including states with laws similar to

Minnesota. (Id. at 52–56.) The NHL strenuously disagrees, arguing that different states’



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laws will govern the proposed class members’ claims depending on where the class

member lived and played during most of his career. (Def.’s Mem. 31–39.)

       To decide the applicable law, the Court must conduct a choice-of-law analysis for

each proposed class member. See St. Jude I, 425 F.3d at 1120 (“The Supreme Court has

held an individualized choice-of-law analysis must be applied to each plaintiff’s claim in

a class action.”) (citing Phillips Petrol. Co. v. Shutts, 472 U.S. 797, 822–23 (1985)). “A

district court sitting in diversity must apply the conflict of law rules for the state in which

it sits.” Inacom Corp. v. Sears, Roebuck & Co., 254 F.3d 683, 687 (8th Cir. 2001).

Minnesota uses a three-step choice of law analysis. The first two steps “inquire whether

differing state laws present an outcome-determinative conflict and whether each law

constitutionally may be applied to the case at hand.” Blake Marine Grp. v. CarVal

Investors LLC, 829 F.3d 592, 595 (8th Cir. 2016). At the third step, the Court decides

whether the rule of law at issue is substantive or procedural. Glover v. Merck & Co., Inc.,

345 F. Supp. 2d 994, 998 (D. Minn. 2004) (citing Danielson v. Nat’l Supply Co., 670

N.W.2d 1, 5 (Minn. Ct. App. 2003)). If the issue is substantive, the Court applies a

“‘multi-step choice-of-law analysis, which includes application of five choice-influencing

considerations, to determine which state’s law applies.’” Id. at 998 (quoting Jepson v.

Gen. Cas. Co. of Wis., 513 N.W.2d 467, 469 (Minn. 1994)). However, if the issue is

procedural, then Minnesota applies its own law. Id. (citing Jepson, 513 N.W.2d at 469);

see also Schwan’s Sales Enters., Inc. v. SIG Pack, Inc., 476 F.3d 594, 596 (8th Cir. 2007)

(“Minnesota courts apply Minnesota law regarding matters of procedure and remedies.”).

              1.     Application of New York Tort Law
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       Plaintiffs argue that the Court should apply New York tort law on a classwide

basis because that is where the NHL is currently headquartered and incorporated. (Pls.’

Mem. 45, 50.) Outcome-determinative conflicts exist between the laws of New York and

the other forty-nine states, the District of Columbia, and the Canadian provinces with

respect to negligence and negligent misrepresentation. 8 (See Doc. No. 789-39, Def.’s Ex.

58, Survey of Variations in State Laws With Respect to Negligence); In re Rhone-

Poulenc Rorer, Inc., 51 F.3d 1293, 1300 (7th Cir. 1995) (stating that “[t]he law of

negligence, including subsidiary concepts such as duty of care, foreseeability, and

proximate cause” differs among the states in “important” ways). Therefore, the Court

must apply the choice-influencing factors to determine the applicable law. Those factors

are: (1) predictability of result; (2) maintenance of interstate and international order; (3)

simplification of the judicial task; (4) advancement of the forum’s governmental interest;

and (5) application of the better rule of law. Blake Marine Grp., 829 F.3d at 595.

       The first factor (predictability of results) is used to “‘fulfill the parties’ justified

expectations.’” Dryer v. NFL, Civil No. 09-2182 (PAM/AJB), 2013 WL 5888231, at *6

(D. Minn. Nov. 1, 2013) (quoting Jepson, 513 N.W.2d at 470). This factor is typically not

relevant in tort cases because “the parties in such cases are not alleged to have acted in

reliance on any state’s laws.” Whitney v. Guys, Inc., 700 F.3d 1118, 1125 (8th Cir. 2012);

see also In re Baycol Prods. Litig., 218 F.R.D. 197, 207 (D. Minn. 2003). Even so,


8
       See Zimmerman Ltr. 1 (explaining that Plaintiffs seek class treatment for
negligence and negligent misrepresentation claims).)


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Plaintiffs argue that the NHL’s control over the style of play and its decisions to withhold

information from players occurred in New York, indicating that New York law would

apply more predictably. (Pls.’ Reply 13.) In Dryer, however, a class action brought by

former NFL players for violation of common-law and statutory publicity rights, the court

explained that where plaintiffs “played in various locations, for teams located throughout

the United States, it is likely that they would have expected that the vindication of their . .

. rights would be subject to the law where their team was located or where they

themselves lived.” 2013 WL 5888231, at *6. To the extent that this factor may be

considered relevant to the Court’s choice-of-law analysis, it finds favor in applying the

law where each member of the proposed class played during his career or currently lives.

       The second factor (maintenance of interstate order) “weighs in favor of the state

which has the most significant contacts with the facts relevant to the litigation.” In re

Baycol Prods. Litig., 218 F.R.D. at 207 (citing Hughes v. Wal-Mart Stores, Inc., 250 F.3d

618, 621 (8th Cir. 2001)). At times, this factor “favors the application of the law of states

closely connected to Plaintiffs, such as the home state of their team(s) or their own

homes.” Dryer, 2013 WL 5888231, at *6. The NHL’s home state also has significant

contacts with the facts at issue, however, so this factor either favors the state of the

player’s team or is neutral.

       The third factor (simplification of judicial task), while normally neutral, highlights

the “unmanageability of the class action apparatus” where, as here, “it is possible that the

law of many different states may apply to Plaintiffs’ claims.” Id.



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       Applying the fourth factor (advancements of the forum’s governmental interest),

courts must “determine which state’s law to apply based on ‘the relative policy interests

of the two states.’” Blake Marine Grp., 829 F.3d at 596. Once again, this factor points to

the state where the former player currently resides, 9 not where the NHL is incorporated.

“Our court has . . . explained . . . that a state’s ‘interest in protecting nonresidents from

tortious acts committed within the state . . . is only slight and does not support application

of its law to the litigation.’” Id. (quoting Hughes, 250 F.3d at 621). By contrast,

“‘[c]ompensation of an injured plaintiff is primarily a concern of the state in which [the]

plaintiff is domiciled.’” Id. (quoting Kenna v. So-Fro Fabrics, Inc., 18 F.3d 623, 627 (8th

Cir. 1994)); see also In re Baycol Prods. Litig., 218 F.R.D. at 207 (“The Eighth Circuit . .

. has not given the [domicile] of the corporate defendant much weight in tort cases.”). 10

       Application of the choice-influencing factors therefore favors the place where each

class member lived and played during most of his career, or, for players whose career

was not focused on a particular team, where they now live in retirement. 11 As a result,


9
      In a significant number of cases, this will be the same state where the player spent
the majority of his career.
10
       It is not necessary to discuss the fifth factor (better rule of law) because it “applies
only if the first four factors do not resolve the choice-of-law question.” Dryer, 2013 WL
5888231, at *6 (citing Myers v. Gov’t Empl. Ins. Co., 225 N.W.2d 238, 244 (Minn.
1974)).
11
        Even if the NHL’s location pointed towards the applicable law, the NHL was
headquartered in Montreal before moving to New York in 1977. As a result, Plaintiffs’
own theory would not result in the uniform application of a single body of law to the
entire class. At oral argument, counsel for the NHL explained that 1,000 retired, living
players in Proposed Class 1 played part of their career when the NHL was headquartered
                                                       (Footnote Continued on Next Page)
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this Court finds that New York tort law cannot be applied on a classwide basis, and

therefore, that the application of widely varying tort laws precludes a finding that

common legal issues predominate.

              2.     Medical Monitoring Law Varies Widely Across the U.S. and
                     Canada

       Medical monitoring claims seek to “‘recover the anticipated costs of long-term

diagnostic testing necessary to detect latent diseases that may develop as a result of

tortious exposure.’” Foster, 229 F.R.D. at 602 (quoting Bower v. Westinghouse Elec.

Corp., 522 S.E.2d 424, 429 (W. Va. 1999)). These types of claims evolved from the

realization that “widely recognized tort law concepts premised upon a present physical

injury are ill-equipped to deal with cases involving latent injury.” Meyer ex rel. Coplin v.

Fluor Corp., 220 S.W.3d 712, 716 (Mo. 2007). Medical monitoring claims are

considered a “‘non-traditional tort.’” Thompson v. Am. Tobacco Co., 189 F.R.D. 544, 552

(D. Minn. 1999) (quoting In re Paoli R.R. Yard PCB Litig., 916 F.2d 829, 849 (3d Cir.

1990)).

       Plaintiffs argue that Minnesota law governs their request for medical monitoring.

Minnesota courts have allowed the recovery of medical monitoring expenses where the

elements of a tort claim are proven and evidence of a present injury is established. See


(Footnote Continued From Previous Page)
in Montreal, and 600 retired, living players played their entire career when the NHL was
headquartered in Montreal. (Doc. No. 973, 3/16/18 Hr’g Tr. 37.) Plaintiffs attempt to
rectify this oversight by offering to “limit the Class definition to those who played from
1977 onward.” (Pls.’ Reply 14.) This proposal would raise adequacy issues with respect
to the Estate of Zeidel, whose playing career ended in 1969.

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Bryson v. Pillsbury Co., 573 N.W.2d 718, 721 (Minn. Ct. App. 1998) (finding genuine

fact issues concerning “emotional distress damages and medical monitoring expenses”

due to “alleged chromosome damage”); see also Werlein v. United States, 746 F. Supp.

887, 904 (D. Minn. 1990) (“Assuming that a given plaintiff can prove that he has present

injuries that increases his risk of future harm, medically appropriate monitoring is simply

a future medical cost, which is certainly recoverable”), vacated on other grounds, 793 F.

Supp. 898 (D. Minn. 1992).

       Medical monitoring law in other jurisdictions, however, is greatly varied, resulting

in significant outcome-determinative conflicts between Minnesota law and the other

forty-nine states, the District of Columbia, and the Canadian provinces. See Myers, 225

N.W.2d at 241 (“[I]t first must be determined that a conflict exists, i.e., will the choice of

one law as compared to another determine the outcome?”).

       Several states, for example, recognize medical monitoring only if the plaintiff has

a manifest physical injury. 12 One state has held that plaintiffs can recover medical

monitoring upon a showing that the plaintiff has suffered a subcellular or subclinical




12
       See Hous. Cty. Health Care Auth. v. Williams, 961 So. 2d 795, 811 (Ala. 2007);
Wood v. Wyeth-Ayerst Lab., Div. of Am. Home Products, 82 S.W.3d 849, 859 (Ky. 2002);
La. Civ. Code Ann. Art. 2315(B); Henry v. Dow Chem. Co., 701 N.W.2d 684, 686 (Mich.
2005); Paz v. Brush Engineered Materials, Inc., 949 So. 2d 1, 3 (Miss. 2007); Caronia v.
Philip Morris USA, Inc., 5 N.E.3d 11, 18 (N.Y. 2013); Curl v. Am. Multimedia, Inc., 654
S.E.2d 76, 81 (N.C. Ct. App. 2007); Lowe v. Philip Morris USA, Inc., 183 P.3d 181, 183
(Or. 2008); Ball v. Joy Techs, Inc., 958 F.2d 36, 39 (4th Cir. 1991) (applying Virginia
law); Alsteen v. Wauleco, Inc., 802 N.W.2d 212, 218–19 (Wis. Ct. App. 2011).


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injury. 13 Five states allow medical monitoring awards as a form of damages for certain

potentially harmful exposures without proof of present injury or cellular or subcellular

harm. 14 Four states recognize medical monitoring as an independent cause of action that

does not require proof of present injury or cellular or subcellular harm. 15 Another state

has held that plaintiffs can recover medical monitoring without a showing of manifest

physical injury, but it is unclear whether medical monitoring is an independent claim or a

form of damages. 16 In most of the remaining states and the District of Columbia, the

courts have either not addressed the issue or the state of the law is unclear. 17

       In the first category of states, the Michigan Supreme Court has rejected any

independent claim for medical monitoring. See Henry, 701 N.W.2d at 686. The plaintiffs

13
       See Donovan v. Philip Morris USA, Inc., 914 N.E.2d 891, 901–02 (Mass. 2009).
14
      See Potter v. Firestone Tire & Rubber Co., 863 P.2d 795, 823–24 (Cal. 1993);
Exxon Mobil Corp. v. Albright, 71 A.3d 30, 75–76 (Md. 2013); Meyer ex rel. Coplin v.
Fluor Corp., 220 S.W.3d 712, 716 (Mo. 2007); Sadler v. PacifiCare of Nev., Inc., 340
P.3d 1264, 1270 (Nev. 2014); Ayers v. Twp. of Jackson, 525 A.2d 287, 298 (N.J. 1987).
15
      See Petito v. A.H. Robins Co., 750 So. 2d 103, 105–07 (Fla. Dist. Ct. Ap. 2000);
Redland Soccer Club, Inc. v. Dep’t of the Army, 696 A.2d 137, 145–46 (Pa. 1997);
Hansen v. Mountain Fuel Supply Co., 858 P.2d 970, 979 (Utah 1993); Bower v.
Westinghouse Elec. Corp., 522 S.E.2d 424, 432 (W. Va. 1999).
16
      See Burns v. Jacquays Mining Corp., 752 P.2d 28, 33–34 (Ariz. Ct. App. 1987).
17
       No Canadian court has recognized the validity of medical monitoring claims, and
a number of those courts have expressed skepticism of such claims due to Canada’s
publicly-funded healthcare system. (See Doc. No. 789-37, Def.’s Ex. 56, Decl. of John B.
Laskin (“Laskin Decl.”) ¶¶ 12–33; Doc. No. 789-38, Def.’s Ex. 57, Decl. of Sylvie
Rodrigue (“Rodrigue Decl.”) ¶¶ 8–9.) One third of the proposed class members live in
Canada. (3/16/18 Hr’g Tr. 41.) Five of the six Proposed Class Representatives played for
a Canadian team at some point in their career, and Plaintiffs Leeman and Nicholls are
Canadian residents.


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in that case did not claim to have “suffered any present physical harm because of

defendant’s allegedly negligent contamination.” Id. at 689. The court emphasized that

determining eligibility for participation in a medical monitoring program “involves the

consideration of a number of practical questions and the balancing of a host of competing

interests – a task more appropriate for the legislative branch than the judiciary.” Id. at

698. The New York Court of Appeals also rejected medical monitoring as an independent

cause of action absent proof of present physical injury. See Caronia, 5 N.E.3d at 18 (N.Y.

2013) (“We conclude that the policy reasons set forth above militate against a judicially-

created independent cause of action for medical monitoring. Allowance of such a claim,

absent any evidence of present physical injury or damage to property, would constitute a

significant deviation from our tort jurisprudence.”). 18

       In Massachusetts, plaintiffs may recover the costs of medical monitoring as a form

of future medical expense damages, upon a showing of subcellular injuries. See Donovan,

914 N.E.2d at 901–02. Such a claim includes seven elements: (1) the defendant’s

negligence (2) caused (3) the plaintiff to become exposed to a hazardous substance that

produced, at least, subcellular changes that substantially increased the risk of serious

18
       Plaintiffs argue that New York law does not restrict medical monitoring to those
manifesting physical symptoms of a disease. (Pls.’ Reply 18 (citing Baker v. Saint-
Gobain Performance Plastics Corp., 232 F. Supp. 3d 233 (N.D.N.Y. 2017).) The court in
Baker interpreted Caronia to allow medical monitoring where the underlying injury is the
accumulation of a toxic substance within the plaintiff’s body. 232 F. Supp. 3d at 250.
Baker also allowed an interlocutory appeal and suggested that the Second Circuit should
“certify these issues to the New York Court of Appeals,” which could “assist the lower
courts by clarifying Caronia.” Id. at 254. Even if Baker’s interpretation of Caronia is
correct, the Court’s conclusion that there are outcome-determinative conflicts between
the various states’ laws on medical monitoring would not be altered.

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disease, illness, or injury (4) for which an effective medical test for reliable early

detection exists, (5) and early detection, combined with prompt and effective treatment,

will significantly decrease the risk of death or the severity of the disease, illness or injury,

and (6) such diagnostic medical examinations are reasonably (and periodically)

necessary, in conformance with the standard of care, and (7) the present value of the

reasonable cost of such tests and care as of the date of the filing of the complaint must be

established. Id. at 902.

       Five other states allow medical monitoring awards as damages without proof of

present injury or cellular or subcellular harm, such as California, where “the cost of

medical monitoring is a compensable item of damages where the proofs demonstrate,

through reliable medical expert testimony, that the need for future monitoring is a

reasonably certain consequence of a plaintiff’s toxic exposure and that the recommended

monitoring is reasonable.” Potter, 863 P.2d at 824. The following factors are relevant in

determining the reasonableness and necessity of monitoring there: (1) the significance

and extent of the plaintiff’s exposure to chemicals; (2) the toxicity of the chemicals; (3)

the relative increase in the chance of onset of disease in the exposed plaintiff as a result

of the exposure, when compared to the plaintiff’s chances of developing the disease had

he or she not been exposed and the chances of the members of the public at large of

developing the disease; (4) the seriousness of the disease for which the plaintiff is at risk;

and (5) the clinical value of early detection and diagnosis. Id. at 824–25.

       Some states, such as Florida, recognize medical monitoring as an independent

cause of action that does not require proof of present injury or cellular or subcellular

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harm. See Petito, 750 So. 2d at 105–07. In Petito, the court explained that an “action for

medical monitoring seeks to recover only the quantifiable costs of periodic medical

examinations necessary to detect the onset of physical harm, whereas an enhanced risk

claim seeks compensation for the anticipated harm, proportionately reduced to reflect the

chance that it will not occur . . . .” Id. at 105–06. The following elements must be proven

to establish an equitable claim for medical monitoring in Florida: (1) exposure greater

than normal background levels; (2) to a proven hazardous substance; (3) caused by the

defendant’s negligence; (4) as a proximate result of the exposure, plaintiff has a

significantly increased risk of contracting a serious latent disease; (5) a monitoring

procedure exists that makes the early detection of the disease possible; (6) the prescribed

monitoring regime is different from that normally recommended in the absence of the

exposure; and (7) the prescribed monitoring regime is reasonably necessary according to

contemporary scientific principles. Id. at 106–07.

       In Arizona, plaintiffs may recover medical monitoring where the plaintiff is at risk

of developing an injury in the future. Burns, 752 P.2d at 33–34. The court concluded that

medical surveillance costs are a “compensable item of damages” despite “the absence of

physical manifestation of any asbestos-related diseases.” Id. at 33. Subsequent decisions

make it unclear as to whether medical monitoring is a form of damages or a stand-alone

cause of action in Arizona. Compare Arch v. Am. Tobacco Co., 175 F.R.D. 469, 481

(E.D. Pa. 1997) (stating that “[i]n Burns, the court described medical monitoring as a

compensable item of damages,” not a distinct cause of action), with In re St. Jude, No.

MDL 01-1396 JRT/FLN, 2004 WL 45504, at *7 (D. Minn. Jan. 5, 2004) (stating that

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Arizona is a jurisdiction that “recognize[es] a stand alone claim for medical monitoring”);

Quiroz v. ALCOA Inc., 382 P.3d 75, 79 (Ariz. Ct. App. 2016) (discussing the “claim” of

medical monitoring).

       Some of the remaining states, such as Alaska, Idaho, and Hawaii, do not have any

court decisions that clearly address the issues related to medical monitoring. In other

states, courts have addressed the issue, but there is no definitive guidance on whether

such a claim is viable. See, e.g., Mehr v. Federation Internationale de Football Ass’n,

115 F. Supp. 3d 1035, 1070 (N.D. Cal. 2015) (“Lower courts in Illinois have suggested

that the Illinois Supreme Court might recognize an independent claim for medical

monitoring even in cases where there is no present physical injury. However, to date, it

does not appear that the Illinois Supreme Court has done so.”).

       Plaintiffs argue that the conflicts between these states are not outcome-

determinative because all NHL players present evidence of cellular damage or injury.

(Pls.’ Reply 17; 3/16/18 Hr’g Tr. 32.) Cellular damage, however, is not enough to allow

recovery in states that require a present physical injury. As the Eleventh Circuit explained

in a case applying Georgia law:

       Plaintiffs rest their personal injury claims on the contention that their
       allegations of subclinical and cellular damage are sufficient to allege a
       current physical injury under Georgia law; because we reject this argument,
       Plaintiffs’ claims for personal injury and emotional distress must fail. And
       because Plaintiffs’ allegations of subclinical damage are insufficient to state
       a current physical injury, Plaintiffs are not entitled to recover the
       ‘quantifiable costs of periodic medical examinations’ as future medical
       expenses. Plaintiffs have failed to point us to any Georgia authority that
       allows recovery of medical monitoring costs in the absence of a current
       physical injury.


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Parker v. Wellman, 230 F. App’x 878, 882–83 (11th Cir. 2007); see also Parker v. Brush

Wellman, Inc., 377 F. Supp. 2d 1290, 1296               (N.D. Ga. 2005) (explaining that an

“overarching issue in this litigation is whether Plaintiffs who have endured only ‘sub-

clinical, cellular, and sub-cellular’ damages from alleged beryllium exposure may rely on

such effects as a physical ‘injury’ sustaining tort recovery”). 19 Thus, the conflicts

between states that require physical injury and those that do not are outcome-

determinative and cannot be ignored in a choice-of-law analysis. Compare Williams, 961

So. 2d at 811 (Ala.) (“A person exposed to a known hazardous substance but not

claiming a present physical injury or illness as a result may not recover as damages the

costs of medical monitoring.”), and Wood, 82 S.W.3d at 859 (Ky.) (“[H]aving weighed

the few potential benefits against the many almost-certain problems of medical

monitoring, we are convinced that this Court has little reason to allow such a remedy

without a showing of present physical injury.”), with Meyer, 220 S.W.3d at 717 (Mo.)

(“[A] present physical injury requirement is inconsistent with th[is] theory of recovery.”),

and Sadler, 340 P.3d at 1270 (Nev.) (“[A] plaintiff may state a cause of action for

negligence with medical monitoring without asserting that he or she has suffered a

present physical injury.”) (emphasis in original). 20


19
       The status of medical monitoring claims in Georgia can be characterized as
unclear due to the lack of state court authority on the topic. See Parker, 377 F. Supp. 2d
at 1302 (“[I]t is not the function of a federal court to expand state court doctrine in novel
directions absent clear state authority suggesting the propriety of such an extension.”).
20
       Even if proof of cellular damage was sufficient to establish a basis for liability on
a classwide basis, the presence of cellular damage would need to be established in each
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       Other conflicts in state law are also apparent. Missouri, for example, requires a

“‘significantly increased risk of contracting a particular disease relative to what would be

the case in the absence of exposure.’” Meyer, 220 S.W.3d at 718 (quoting Bower, 522

S.E.2d at 433 (W. Va.)). Utah, on the other hand, requires only an increased risk. See

Hansen, 858 P.2d at 979. Also in Utah, unlike in some other states, a plaintiff must show

that a treatment exists that can alter the course of the illness. Compare id., with Redland

Soccer Club, 696 A.2d at 145–46 (Penn.), and Bower, 522 S.E.2d at 432–33 (W. Va.).

And some states require a plaintiff to prove the existence of a procedure that can result in

early detection, but others do not. Compare Petito, 750 So. 2d at 106–07 (Fla.), and

Donovan, 914 N.E.2d at 902 (Mass.), with Meyer, 220 S.W.3d at 717–18 (Mo.), and

Burns, 752 P.2d at 33–34 (Ariz.).

       Plaintiffs maintain that a number of states can be grouped together based on the

way they treat medical monitoring claims. (Pls. Mem. 35; Doc. No. 641-12, Ex. 141.) For

example, Plaintiffs identify twenty-eight jurisdictions that permit medical monitoring

relief where there is “a showing of exposure plus increased probability” of developing a

future disease. 21 As discussed above, the laws of many of those jurisdictions are varied


(Footnote Continued From Previous Page)
player and that the cellular damage was caused by exposure to the hazard of playing
hockey in the NHL (as opposed to playing hockey somewhere else or as a result of
another cause). Thus, causation in this context would require individualized proof.
21
       The jurisdictions identified by Plaintiffs are: Arizona, California, Colorado,
Connecticut, Delaware, District of Columbia, Florida, Illinois, Indiana, Kansas,
Kentucky, Maryland, Massachusetts, Minnesota, Missouri, Montana, Nevada, New
Jersey, New York, Ohio, Oregon, Pennsylvania, Rhode Island, Tennessee, Texas, Utah,
                                                         (Footnote Continued on Next Page)
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and complex. Plaintiffs’ grouping theory cannot be used to sidestep the widespread

divergence among the states in the requirements for medical monitoring. Compare

Donovan, 914 N.E.2d at 901–02 (holding that plaintiffs in Massachusetts may recover the

costs of medical monitoring as a form of future medical expense damages in cases

involving subcellular injuries), with Potter, 863 P.2d at 824 (allowing medical monitoring

awards in California without proof of present injury or cellular or subcellular harm).

Thus, there are significant outcome-determinative conflicts between the states’ legal

requirements for medical monitoring relief.

       Plaintiffs maintain, however, that Minnesota law on medical monitoring can still

be applied on a classwide basis because medical monitoring is procedural or remedial

under Minnesota law. (Pls.’ Mem. 47–48; Pls.’ Reply 11–13.) The NHL counters that the

issue is substantive, not procedural. (Def.’s Mem. 39–42.)

       “‘[S]ubstantive law is that part of law which creates, defines, and regulates rights,

as opposed to ‘adjective or remedial’ law, which prescribes [a] method of enforcing the

rights or obtaining redress for their invasion.’” Stern v. Dill, 442 N.W.2d 322, 324 (Minn.

1989) (quoting Meagher v. Kavli, 88 N.W.2d 871, 879–80 (Minn. 1958)). Plaintiffs argue

nonetheless that “Exposure + Causation of Cell Damage + Increased Risk” are “Remedial

Elements” that should be controlled by Minnesota law. (Zimmerman Ltr. 2.)




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Vermont, and Washington. (See Doc. No. 641-12, Pls.’ Ex. 141, Chart A.)


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       To succeed on their medical monitoring claim under Minnesota law, Plaintiffs

must prove that they incurred cell damage (injury) as a result of being exposed to the

hazard of playing hockey in the NHL (causation), and the consequent increased risk of

developing NDDCs (increased risk). Exposure, causation and increased risks, however,

are essential elements of tort liability, not damages and hence are not remedial.

Entitlement to medical monitoring requires substantive proof; it is not merely a

procedural or remedial issue.

       The cases cited by Plaintiffs are not to the contrary. (Pls.’ Reply 11 (citing Bryson,

573 N.W.2d at 721; Palmer v. 3M Co., No. C2-04-6309, 2005 WL 5891911 (Minn. Dist.

Ct. Apr. 6, 2005); Thompson, 189 F.R.D. at 552; Werlein, 746 F. Supp. at 904). In

Werlein, the court found that plaintiffs could be “entitled to recover the costs of future

medical monitoring as tort damages under the common law” because if “a given plaintiff

can prove that he has present injuries that increases his risk of future harm, medically

appropriate monitoring is simply a future medical cost, which is certainly recoverable.”

746 F. Supp. at 904. Despite the description of medical monitoring as “simply a future

medical cost,” Werlein supports the characterization of medical monitoring as

substantive, not procedural, because the court’s reasoning presumes that plaintiffs would

not be entitled to medical monitoring as a “future medical cost” in the absence of

“present injuries that increase[] . . . risk of future harm.” Id.

       Then in Bryson, the Minnesota Court of Appeals followed the reasoning in

Werlein and held that it “could not ‘rule as a matter of law that plaintiffs’ alleged injuries

are not ‘real’ simply because they are subcellular. The effect of volatile organic

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compounds on the human body is a subtle, complex matter. It is for the trier of fact, aided

by expert testimony, to determine whether plaintiffs have suffered present harm.’” 573

N.W.2d at 721 (quoting Werlein, 746 F. Supp. at 901). The court therefore held, as in

Werlein, that the plaintiff could recover “medical monitoring expenses because of her

alleged chromosome damage.” Id. (citing Werlein, 746 F. Supp. at 901, 905) (emphasis

added). Bryson therefore considered the existence of a subcellular injury (chromosome

damage) to be a prerequisite to the recovery of medical monitoring costs, suggesting as in

Werlein that medical monitoring should be characterized as substantive, not procedural. 22

       Ultimately, and perhaps most importantly, none of the cases cited by Plaintiffs

discuss whether medical monitoring is substantive or procedural under the applicable

standard set forth by the Minnesota Supreme Court. Plaintiffs do not cite a single case

from Minnesota or any other jurisdiction holding that entitlement to medical monitoring

is a procedural issue controlled by the law of the forum for choice-of-law purposes. To

the contrary, courts have treated medical monitoring as substantive, not procedural or

remedial.

22
        The other two cases cited by Plaintiffs do not support their argument. In
Thompson, the court was “not inclined” to find that the tort of medical monitoring exists
under Minnesota law given its “novelty . . . and that the Minnesota Supreme Court has
yet to recognize it as an independent theory of recovery.” 189 F.R.D. at 552. Even if the
claim did exist under Minnesota law, the court found that the issue “would not be proper
for determination on a class-wide basis.” Id. In Palmer, the court dismissed a claim for
medical monitoring because it is “not recognized as an independent cause of action by
Minnesota courts.” 2005 WL 5891911 (citing Thompson, 189 F.R.D. at 552). The court
also noted that “Minnesota courts allow recovery for the cost of medical monitoring as
tort damages only if the elements for future damages are met.” Id. (citing Bryson, 573
N.W.2d at 721) (emphasis in original).


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       In the St. Jude cases, for example, the Eighth Circuit considered certification of a

medical monitoring class in a products liability suit involving prosthetic heart valves. See

St. Jude I, 425 F.3d at 1121–23; St. Jude II, 522 F.3d at 840–42. After “reviewing the

laws of different states with regard to medical monitoring, the [district] court observed it

would apply the medical monitoring law of different states, conditionally certifying the

class only as to ‘those plaintiffs whose valves were implanted in states that recognize a

stand-alone cause of action for medical monitoring, absent proof of injury.’” St. Jude I,

425 F.3d at 1118. The Eighth Circuit reversed because “diverse legal and factual issues

preclude class certification.” Id. at 1121. The court reasoned that “[p]roposed medical

monitoring classes suffer from cohesion difficulties, and numerous courts across the

country have denied certification of such classes.” Id. at 1122. According to the court,

there were “individual variations” among the class members because “exposure-only

plaintiffs” would “‘incur different medical expenses because their monitoring and

treatment will depend on singular circumstances and individual medical histories.’” Id.

(quoting Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 624 (1997)). Moreover,

“[d]ifferences in state laws on medical monitoring further compound these disparities.”

Id. As the court then explained, “states recognizing medical monitoring claims as a

separate cause of action have different elements triggering culpability.” Id. (emphasis

added). Thus, the Eighth Circuit in St. Jude I recognized that medical monitoring is a

substantive issue requiring a choice-of-law analysis for each class member, 23 not a


23
       Plaintiffs argue that St. Jude I does not stand for the proposition that medical
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procedural or remedial issue that can be applied uniformly to an entire class. 24 See also

Foster, 229 F.R.D. at 605–06 (“[C]laims for medical monitoring are not treated

uniformly among the states, and this divergence creates a ‘myriad of individual legal

issues that defeat the predominance requirement’ and makes certification ‘totally

unmanageable and inefficient.’ Many states have not recognized medical monitoring

claims, and those which have done so have adopted widely varying criteria for

recovery.”); In re Baycol Prods. Litig., 218 F.R.D. 197, 212 (D. Minn. 2003) (rejecting




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monitoring is substantive because the court did not “pause to consider” whether the issue
is substantive or remedial. (3/16/18 Hr’g Tr. 27; Pls.’ Reply 12.) In support, Plaintiffs cite
In re Levaquin Prods. Liab. Litig., MDL No. 08-1943 (JRT), 2010 WL 7852346 (D.
Minn. Nov. 9, 2010), which held that Minnesota’s punitive damages law is remedial, not
substantive. Id. at *6–10. In conducting its choice-of-law analysis, the court noted that
the defendants did not cite “a single case in which a court has characterized Minnesota’s
punitive damages statute as substantive. Instead, they have cited cases in which courts
engaged in a conflict of law analysis regarding conflicts between states’ punitive
damages statutes without pausing to consider whether such statutes are substantive or
procedural.” Id. at *8 (emphasis added) (internal citations omitted). While it is true that
the Eighth Circuit did not explicitly analyze whether medical monitoring is substantive or
procedural, this Court must follow the Eighth Circuit’s clear directive in St. Jude I that
legal variations between states’ medical monitoring laws precludes class certification.
24
        On remand, the district court determined that Minnesota law should apply to all
claims in the nationwide class, and recertified the class pursuant to Rule 23(b)(3). St.
Jude II, 522 F.3d at 838. In St. Jude II, the Eighth Circuit reversed because “the need for
detailed and individual factual inquiries concerning the appropriate remedy for any
violation still weighs strongly against class certification.” Id. at 840. While the court
noted that the district court “eliminated the diversity of legal issues by applying
Minnesota law to all claims,” id., the court did not endorse or affirm this approach. Id. at
841 (“We recognize that plaintiffs may present certain issues that are common to all of
their claims, assuming it is proper under Minnesota choice of law principles and the
Constitution to apply Minnesota law to every claim.”) (emphasis added).


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argument that “the differences in state law governing medical monitoring claims . . .

should not preclude class certification”).

       Since, as discussed above, the choice-influencing factors point to several different

states, depending upon the playing history and domicile of each class member, the Court

would be forced to apply a wide range of legal standards for the recovery of medical

monitoring. Someone who played for the New York Rangers or Islanders (such as

Plaintiff LaCouture) could not state a claim for medical monitoring without a showing of

present injury. A former player for the St. Louis Blues (such as Plaintiff Leeman) could

receive medical monitoring as an element of damages without proof of present injury.

Someone who played for the Florida Panthers or Tampa Bay Lightning or retired to

Florida could be entitled to medical monitoring as an independent cause of action without

proof of present injury. A former player for the Minnesota North Stars or the Minnesota

Wild or someone who currently lives in Minnesota (such as Plaintiffs Christian and

Larson) could receive medical monitoring as a form of damages if he has proof of

cellular or subcellular injury. See Bryson, 573 N.W.2d at 721 (stating that proof of

subcellular damage may suffice to prove the required present injury in a medical

monitoring case and is a question of fact for the jury to decide). For a player who retired

to Hawaii, the court would be acting on a blank slate with no clear guidance from any

court as to whether, and under what circumstances, medical monitoring is a viable claim

or an element of damages. As one court explained in denying certification of a medical

monitoring class,



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       Many states never have recognized a claim for medical monitoring, a
       circumstance that would force this Court into the undesirable position of
       attempting to predict how their courts of last resort would resolve that
       issue. Those states that have done so have adopted widely varying criteria
       for recovery. There simply is no justification for embarking on so complex
       a path.

In re Rezulin Products Liab. Litig., 210 F.R.D. 61, 74 (S.D.N.Y. 2002); see also In re

Prempro, 230 F.R.D. at 563 (denying certification because differing state laws “cannot

reasonably be grouped in a comprehensive manner that does not seriously impinge on the

integrity of the law of each state”).

       For all of these reasons, individualized legal issues will substantially predominate

over common legal issues in this litigation. See St. Jude I, 425 F.3d at 1122; see also

Zehel-Miller v. Astrazenaca Pharm., LP, 223 F.R.D. 659, 663 (M.D. Fla. 2004) (“The

fact that medical monitoring is not treated uniformly throughout the United States creates

a myriad of individual legal issues that defeat the predominance requirement of Rule

23(b)(3).”); In re Baycol Prods. Litig., 218 F.R.D. at 208 (“Differences in state law, no

matter how slight” may “swamp any common issues and defeat predominance”).

Accordingly, class certification cannot be granted under Rule 23(b)(3). 25

       D.     Rule 23(c)(4), Issue Class

       Plaintiffs Leeman and the Ziedel Estate move for Rule 23(c)(4) certification and

for their appointment as representatives of Class 2 as to certain issues only––the legal

issues of duty of care and breach of duty, including the failure to warn, and factual issues

25
       Because the legal issues in this putative class are too highly individualized, it is
not necessary for the Court to consider whether the factual issues are too highly
individualized to support class treatment.

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relevant to whether the head impacts that class members experienced can cause latently-

developed NDDCs. More specifically, Plaintiffs seek class certification as to “whether

the NHL owed duties of care under negligence standards;” “whether the NHL breached

those duties, including by failing to warn;” “whether head impacts experienced in NHL-

style play substantially contribute to the development of [NDDCs] as described in the

Complaint;” and “whether retired players are at an increased risk of developing” these

conditions. (Zimmerman Ltr. 4.)

       Limiting issues in this manner, however, cannot be used to evade the

predominance and cohesiveness requirements. In Ebert, for example, the Eighth Circuit

reversed the certification of a class limited to particular issues related to General Mills’

liability to property owners for the release of a toxic substance. The court explained that

the district court

       abused its discretion in determining that the individualized issues in this
       case ‘do not predominate over the common issues for those questions for
       which certification is sought.’ Indeed, it is the deliberate limiting of issues
       by this district court in this case that is problematic. Stated earlier, all
       actions can be articulated so that there are common questions. Here, by
       bifurcating the case and narrowing the question for which certification was
       sought, the district court limited the issues and essentially manufactured a
       case that would satisfy the Rule 23(b)(3) predominance inquiry.
       Concluding ‘that questions on individualized exposure will not be
       addressed as part of [the] questions for which the Court will agree to certify
       the class’ complicates the litigation of the elements necessary to resolve the
       plaintiffs’ claims. The district court’s narrowing and separating of the
       issues ultimately unravels and undoes any efficiencies gained by the class
       proceeding because many individual issues will require trial.

823 F.3d at 479. Similarly here, Plaintiffs’ proposal to resolve certain issues on a

classwide basis would not result in a more efficient resolution of the class members’


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claims. Each class member would still require an individualized choice-of-law

determination, resulting in the application of widely varying legal standards for their

claims, particularly with respect to medical monitoring. See, e.g., Harding v. Tambrands

Inc., 165 F.R.D. 623, 632 (D. Kan. 1996) (denying class certification because “instructing

the jury in a manner that is both legally sound and understandable to a jury of laypersons

would be a herculean task” and “the verdict form necessary to submit the case to the jury

would read more like a bar exam”). Since this “limited class certification would do little

to increase the efficiency of the litigation,” St. Jude II, 522 F.3d at 841, certification must

be denied.

IV.    CONCLUSION

       The Court is sympathetic to the significant cost and the likelihood of duplicative

proof in trying this case many times, for each individual player. This result, however, is

mandated by the Supreme Court’s guidance in Dukes and the Eighth Circuit’s rulings in

St. Jude and Ebert. In particular, the “rigorous analysis” required by Dukes demonstrates

that there are widespread differences in applicable state laws governing medical

monitoring. 564 U.S. at 350–51. Given those differences, the Court finds that resolving

these claims in a single class action would present significant case management

difficulties. See Fed. R. Civ. P. 23(b)(3)(D). The Court therefore declines to certify either

of Plaintiffs’ proposed classes under Rule 23.




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                                       ORDER

      THEREFORE, IT IS HEREBY ORDERED THAT:

      Plaintiffs’ Motion for Class Certification and for Appointment of Class

Representatives and Class Counsel (Doc. No. 638) is DENIED.



Dated: July 13, 2018                    s/Susan Richard Nelson
                                        SUSAN RICHARD NELSON
                                        United States District Judge




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